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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION

                      CASE NO.: 3:20-cv-1150-MMH-MCR

  KRISTOPHER JOLLY and CHERYL JOLLY, his
  wife; JEREMY LEE and AMY LEE, his wife;
  MATTHEW CIPRIANI; SHAWN O’SHELL and
  MALISSA O’SHELL, his wife; PAUL MASCI and
  ANGELA MASCI his wife; NICHOLAS
  GETTLER; CHARLES DRYSDALE; LANDON
  SIMMONS and SARAH SIMMONS, his wife,
  SAMUEL L. BANKS, and AMANDA BANKS,
  his wife, WILLIAM REED and HOLLY REED,
  his wife; And WESLEY MILLER and SHANNON
  MILLER, his wife,

                          Plaintiffs,
  vs.
  HOEGH AUTOLINERS SHIPPING AS; HOEGH
  AUTOLINERS MANAGEMENT AS; HOEGH
  AUTOLINERS INC.; HORIZON TERMINAL
  SERVICES, LLC; GRIMALDI DEEPSEA S.P.A.,
  and SSA ATLANTIC, LLC,
                          Defendants.
  _________________________________________/

   DEFENDANT HORIZON TERMINAL SERVICES, LLC’S MOTION FOR
                   SUMMARY JUDGMENT

        Defendant HORIZON TERMINAL SERVICES, LLC (“Horizon”), by and

  through its undersigned counsel and pursuant to Federal Rule of Civil Procedure

  56, moves this Honorable Court for summary judgment.
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                              ARGUMENT SUMMARY

        Plaintiffs cannot establish legal causation, let alone negligence (or the link

  between the two) – all essential elements of their case against Horizon. The only

  way Plaintiffs can establish Horizon’s liability at trial is if they prove the fire

  started in or from a vehicle and was caused by Horizon’s failure to act with

  reasonable care. After 75 depositions taken in this case, not a single witness,

  expert or otherwise, has been able to testify as to the specific vehicle in or from

  which the fire started. Without identifying the specific vehicle, it is impossible to

  connect the fire’s cause with any purported act or omission on Horizon’s part

  without impermissible speculation. Plaintiffs may attempt to manufacture an issue

  of fact by stacking inference upon unreasonable inference, but, whether taken in

  isolation or in combination, these inferences cannot discharge their burden.

                                         FACTS

        1.     The HOEGH XIAMEN (the “Ship”) is a roll on, roll off ship for

  carrying automobiles, trucks, and sometimes heavy equipment. (See Ex. 1. Michael

  Loeuis Dep., July 13, 2022, 20:15-21:14,).

        2.     Defendant Hoegh Autoliners Management AS was the HOEGH

  XIAMEN’s manager and operator of the Vessel (D.E. 71 at ¶ 9).

        3.     The HOEGH XIAMEN was time chartered to Defendant Grimaldi

  (“Grimaldi”) at all times material. (D.E. 68 at ¶ 13.)


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        4.     At all times material, the Vessel was transporting used vehicles from

  the U.S to West Africa. (Ex. 1 at 19:13-21:18).

        5.     The used vehicles to be loaded on the HOEGH XIAMEN were in

  varying degrees of disrepair. (See Ex.2 Zhang Xiu Lei Dep., Dec. 20, 2022, 39:18-

  21; Ex.3 Charles Isenberg Dep., Sept. 2, 2022, 22:14-16.)

        6.     Grimaldi hired Horizon to receive and stage vehicles in Jacksonville

  for shipment on the HOEGH XIAMEN. (Ex.1 21:19-23:7) (See Horizon Terminal

  Services’ rate sheet as Ex. 4)

        7.     Horizon’s role was limited to receiving and staging vehicles onshore.

  (Ex. 3 24:12-23) (Ex. 5 Ryan Bouchelle Dep., Sept. 14, 2022, 41:11-17) (Ex. 6

  John White Dep., Sept. 1, 2022, 25:14-21) (See Grimaldi Receiving Policy as Ex.

  7).

        8.     The average time a vehicle was in the terminal between receiving and

  loading was 18 days. (See Jacksonville Load List attached hereto as Ex.8). But a

  vehicle could sit for months after being checked-in. Ex. 6 at 24:25-25:7.

        9.     The vehicles were divided into three categories: Runners which could

  be driven onto the Ship, Non-Runners which could be towed onto the Ship and

  Forklifts, which would have to be loaded onboard by Forklift. See Ex.7.




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         10.    Grimaldi contracted with SSA Atlantic, LLC (“SSA”) to provide stevedore

  services to load the vehicles aboard the Ship. (Ex. 1 at 23:18-24:9).

         11.    SSA was also tasked with disconnecting vehicle batteries on Runners and

  Non-runners, while Forklift vehicles’ batteries would be disconnected by Port Storage &

  Delivery. (Ex. 9 Giuliano Petrellese Dep., Nov. 29, 2022, 34:5-11; 35:4-6; 62:19-24).

  (Battery Disconnect Policy Ex. 10).

         12.    1,575 vehicles were loaded by SSA onto the HOEGH XIAMEN in

  Jacksonville on June 3 and June 4. (Ex. 6 at 18:20-19:2) (See Recap of Cargo

  loaded in Jacksonville as Ex. 11).

         13.    A total of 358 vehicles were loaded in Jacksonville on deck 8. (Ex. 1

  at 19-20) (See Vessel Lashing Inspection Procedure Form as Ex. 12).

         14.    A fire occurred on the HOEGH XIAMEN on the afternoon of June 4

  after the loading.

         15.    At the time of the fire 2,420 vehicles were onboard the HOEGH

  XIAMEN. (See Ex. 11 and Recap of Cargo loaded in Freeport as Ex. 13).

         16.    The Vessel Lashing Inspection Procedure form filled out by SSA

  employee Ethan Walker and given to the Vessel crew after loading indicated that

  13 of the 358 vehicles did not have a battery disconnected. (Ex. 1. at 152:19-25;

  Ex.2 at 45:4-47:16) (Ex. 14 Ethan Walker Dep. 6:10) (See Ex. 12).




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                      SUMMARY JUDGMENT STANDARD

        A “court shall grant summary judgment if the movant shows that there is no

  genuine dispute as to any material fact and the movant is entitled to judgment as a

  matter of law.” Fed. R. Civ. P.56(a). The party seeking summary judgment bears

  the initial burden of demonstrating the absence of a genuine issue of material fact.

  Adickes v. S.H. Kress & Co., 398 U.S. 144, 157 (1970). The moving party's burden

  is discharged merely by “‘showing’—that is, pointing out to the district court—that

  there is an absence of evidence to support [an essential element of] the nonmoving

  party’s case.” Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). In determining

  whether the moving party has met this burden, the district court must view the

  evidence and all factual inferences in the light most favorable to the party opposing

  the motion. Johnson v.Clifton, 74 F.3d 1087, 1090 (11th Cir. 1996).

        Once the moving party has adequately supported its motion, the nonmovant

  then has the burden of showing that summary judgment is improper by coming

  forward with specific facts showing a genuine dispute. Matsushita Electrical

  Industrial Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). The nonmovant

  may not simply rest upon mere allegations or denials of the pleadings; it must

  establish the essential elements of its case on which it will bear the burden of proof

  at trial. Id. The nonmovant must present more than a scintilla of evidence in




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  support of the nonmovant's position. A jury must be able reasonably to find for the

  nonmovant. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 254 (1986).

           A fact is “material” if it “might affect the outcome of the suit under the

  governing law.” Id. at 248. And a material fact is in genuine dispute “if the

  evidence is such that a reasonable jury could return a verdict for the nonmoving

  party.” Id. Thus, an inference deduced from the evidence must be “reasonable” to

  create a genuine dispute of material fact. Berbridge v. Sam's E., Inc., 728 F. App'x

  929, 932 (11th Cir. 2018) (citing Daniels v. Twin Oaks Nursing Home, 692 F.2d

  1321, 1326 (11th Cir. 1982)). While federal courts do not prohibit “inference

  stacking,”1 the more inferences are stacked upon one another, the less likely it is

  that the resulting conclusion is one that “reasonable and fair-minded [people] in the

  exercise of impartial judgment might draw from the evidence.” Daniels, 692 F.2d

  at 1326.

                                                 ARGUMENT

      A.    NO SPECIFIC VEHICLE CAN BE IDENTIFIED AND THAT ALONE IS FATAL TO
                       PLAINTIFFS’ CLAIMS AGAINST HORIZON

           At the outset, it is important to note that none of the Origin and Cause

  Experts disclosed in this case have been able to determine more than a generalized

  1
    Florida state courts guard against unreasonable inferences by prohibiting “inference stacking,” the practice of
  making an inference “which has been superimposed upon an initial inference supported by circumstantial evidence.”
  Little v. Publix Supermarkets, Inc., 234 So. 2d 132,134 (Fla. Dist. Ct. App. 1970) (citing Voelker v. Combined Ins.
  Co. of Am., 73 So. 2d 403 (Fla.1954)). See also Berbridge, 728 F. App'x at 932 (explaining that while federal
  courts are not bound to apply state law rules against inference stacking, state court decisions on summary judgment
  “may still be highly informative” and “[federal courts] aim to reach the same result that the Florida courts would
  reach based on the same facts”).

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  area on the ship where the fire originated. The consensus reached appears to be

  that the fire originated somewhere on Deck 8, starboard side, aft. Accordingly, for

  purposes of this motion this fact is taken as true.

        Unlike origin, consensus among the experts breaks down as to cause. Two

  of the experts opined the cause was undetermined. The other two (including the

  Plaintiffs’ expert) opined that the fire was more likely than not caused by a

  vehicle’s electrical system.    Though causation remains at issue, and Horizon

  concedes nothing on that front, here again for summary judgment purposes it is

  accepted that the fire started from a vehicle. As discussed below, whether the

  source of a fire was a vehicle or otherwise, it does not affect Horizon’s entitlement

  to summary judgment.

        The HOEGH XIAMEN had 2,420 vehicles onboard at the time of the fire,

  1,575 of which were loaded in Jacksonville. Of these, 358 were stowed on Deck 8.

  Narrowed down further, approximately 33 vehicles were in the general area of

  origin identified by the various experts. Beyond this, not even those experts who

  deduced that a vehicle somehow must have started the fire could identify which

  vehicle it was.

        Plaintiffs’ expert, Paul Way unequivocally testified he could not identify a

  specific car as the cause of the fire. Ex. 15 Way Dep., June 21, 2023, 39:13-15.

  He could not point to any vehicle in the general area of origin whose battery was


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  either connected or improperly disconnected and had no evidence of arcing. Id. at

  192:23-193:4. Way likewise could not identify any vehicle within the general area

  of origin that was leaking any type of flammable liquid. Id. at 194:18-21. Lastly,

  Way did not know whether any of the vehicles in the general area of origin

  contained any materials in the trunks or passenger compartments. Id. at 198:14-20;

  199:4-16.

        Hoegh expert Robert Harshman gave similar testimony:

        Q. Put it another way: I think I read your report to say that you
        didn't find a vehicle with definitive evidence suggesting that it was
        the origin of the fire. Correct?

        A. We didn't find any vehicle that – that said it was -- in any --
        any specific vehicle evidence that said that it was specifically the
        cause of the fire. We found some -- several that could have.

  Ex. 16 Harshman Dep., April 13, 2023, 160:21-161:4. As to these vehicles that

  “could” have started the fire, Harshman could not say whether any of these cars

  were leaking, and testified that he did not find any evidence of any objects inside a

  vehicle other than the battery and electrical system that could have been a source

  of the fire. Id. at 176:19-22; 185:13-19.

        Taking the above experts’ opinion testimony as true, Plaintiffs’ can at best

  only establish that one out of the 33 or so vehicles in the general area of origin

  must have caught fire and the source of ignition must have been from the

  unidentified vehicle’s electrical system. Without more, Plaintiffs’ argument is a


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  post hoc fallacy; the only causal connection to Horizon being merely that

  Horizon’s receiving the vehicle at the terminal occurred before the fire.

  Consequently, Plaintiffs’ failure to identify a specific vehicle as the culprit is fatal

  to their claim against Horizon because without doing so, it is impossible to

  determine what, if anything, Horizon did or did not do when receiving that vehicle.

  By logical extension, it is then impossible to determine how the purported error or

  omission actually caused any harm to the Plaintiffs.2

           Plaintiffs must demonstrate by a preponderance of the evidence that

  Horizon’s actions caused the fire at issue. See Arnold v. Heritage Enterprises of St.

  Lucie, LLC, No. 2:13-CV-14447, 2017 U.S. Dist. LEXIS 225609, 2017 WL

  108416969, at *8 (S.D. Fla. July 19, 2017). “[P]roving the cause and origin of a

  fire... requires expert testimony based on a forensic fire investigation, in

  accordance with the National Fire Protection Association Standard 921.” Id. at *9

  (citing United Fire and Cas. Co. v. Whirlpool Corp., 704 F.3d 1338, 1341 (11th

  Cir. 2013)). Because not a single fire investigation expert retained in this case by


  2
    Plaintiffs do not get the benefit of a res ipsa loquitur theory. First off, Plaintiffs did not plead it. But even if they
  had, it would fail because the undisputed facts clearly show that Horizon had no control, let alone exclusive control,
  of any of the vehicles or the HOEGH XIAMEN at the time of the fire. One of the required elements of res ipsa
  loquitur is that the instrumentality causing the injury was under the exclusive control of the defendant. See e.g.
  Arnold v. Heritage Enters. of St. Lucie, LLC, 2017 U.S. Dist. LEXIS 225609, *24-25 (citing U.S. v. Baycon
  Industries, Inc., 804 F.2d 630, 633 (11th Cir. 1986); Terry v. Carnival Corp., 3 F. Supp. 3d 1363, 1372 (S.D. Fla.
  2014)). In Arnold, the court held that on the day of, and the days leading up to, a vessel fire, the vessel captain, and
  two contractors were all working on the vessel, with the captain specifically working on the inside of the vessel and
  with the vessel's wiring, and as a result the defendants did not have the exclusive control necessary for res ipsa to
  apply. 2017 U.S. Dist. LEXIS 225609, *24-25.



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   any party proffers conclusions that support a reasonable inference that Horizon’s

   actions or inactions caused the fire, the Court’s inquiry should stop here and

   summary judgment should be granted in Horizon’s favor. See Bloch v. Beard

   Marine Air Conditioning & Refrigeration, Inc., 2019 U.S. Dist. LEXIS 223541, *4

   (granting summary judgment where third-party plaintiff failed to proffer an expert

   offering conclusions that more likely than not third-party defendants’ hot-work

   caused vessel fire).


                            B.    IMPERMISSIBLE INFERENCES

         As discussed, supra, there is no direct evidence as to the specific vehicle that

   caused the fire, and the experts’ opinions, taken as true, are based purely on

   circumstantial evidence. Thus, at the outset Plaintiffs’ case against Horizon begins

   with an inference (that an unidentified vehicle’s electrical system ignited the fire).

   Assuming arguendo that this initial inference is reasonable, it is still not enough to

   connect Horizon to the fire. Plaintiffs must bridge the gap through multiple,

   stacked inferences, none of which a reasonable and fair-minded person could draw

   from the undisputed facts of this case.

         The first inference that Plaintiffs’ must establish, and upon which all other

   inferences must be stacked, is that the unidentified vehicle was in essentially the

   same condition at the time of the fire as it was when received/staged by Horizon.

   This inference is patently unreasonable. After being checked in by Horizon, a

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   vehicle would be transported to a staging area and parked. Once checked, Horizon

   did not recheck the vehicles, nor were they required to do so. See, e.g., Ex. 5 at

   41:11-14; Ex. 6 at 25:14-21. A vehicle would then sit, parked in the terminal,

   exposed to the elements for a minimum of three days for customs to clear. But no

   vehicle only waited three days. Horizon personnel anticipated the period to be

   more, 17 to 21 days; however, some vehicles would be staged for months, before

   being loaded. Ex. 6. at 24:25-25:7. Indeed, one of the vehicles, a Toyota RAV4,

   had been in the terminal for 246 days. Ex. 8 at 6. On average, the vehicles

   intended to be loaded onto the HOEGH XIAMEN sat at the Blount Island

   Terminal for 18 days. Ex. 8.

           Then, after a period of sitting in the terminal, SSA (not Horizon) drove or

   transported the vehicles onto HOEGH XIAMEN, stowed and lashed them, and

   disconnected (or tried to disconnect) the batteries. 3 SSA’s shoreside activities in

   this regard included jump starting Runner vehicles, and driving, towing, pushing,

   and carrying vehicles by forklift. Onboard the HOEGH XIAMEN, SSA “battery

   brigades” then went through the ship in accordance with Grimaldi’s Battery

   Disconnect Policy.

           Given the length of time the vehicles sat staged, and the fact that other

   parties handled the vehicles after Horizon staged them, no reasonable person,

   3
    Some vehicles needed to be loaded by forklift, for those vehicles the batteries were disconnected by yet another
   Grimaldi contractor, Port Storage & Delivery.

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   without more, could conclude that it was more likely than not that any of the

   vehicles were in the same condition at the time of the fire as they were when

   checked in by Horizon. This is especially true considering that these vehicles were

   used and in less-than-pristine condition to begin with. 4 Obviously, a lot can

   happen between check-in and loading: hood mechanisms can jam, or rust shut;

   seals can deteriorate and spring leaks; vehicles can be damaged during transport,

   loading or lashing; items can be left in a vehicle by a driver; a lit cigarette could be

   dropped in a passenger compartment.

              Ultimately, Plaintiffs cannot rule any of this out, since they cannot even

   establish which vehicle started the fire. As a result, they cannot establish when the

   vehicle was received, how long it sat staged, or what SSA did with the vehicle

   afterward, absent abject speculation. Such speculation cannot support a reasonable

   inference that anything Horizon did or did not do caused the fire.

              After the first two threshold inferences -- namely that the culprit was a

   vehicle and that it somehow remained in the same condition as when received by

   Horizon – Plaintiffs must then stack a third inference in order to connect the fire to

   Horizon’s conduct. It is anticipated that Plaintiffs will attempt to do so on one or

   4
       Grimaldi Port Captain Michael Loeuis confirmed that vehicles can develop issues after check-in:

              Say for example a runner or non-runner that was received became a forklift unit, we
              wouldn't load it. We would cut it to get approval from the customer to load as forklift on this
              vessel or typically there is a mechanical issue with the unit. For example, a truck, something
              that doesn't start, maybe you can’t jump start it or it doesn't go into gear.

   Ex. 1.at 60:6-13.

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   more of three theories: that Horizon accepted a vehicle with a hood that could not

   open, accepted a leaking vehicle, or accepted a vehicle containing cargo or debris.

   None of these inferences are reasonable by themselves, let alone stacked upon

   other unreasonable inferences. We take each in turn:

                                    Vehicle Hoods

         As an initial matter, there is no record evidence that any of the vehicles in

   the general area of origin had hoods that could not be opened, thereby preventing

   batteries from being accessed. On Deck 8, 13 out of 358 vehicles’ batteries

   remained connected at the time of the fire according to a Vessel Lashing Inspection

   Procedure form filled out by SSA. On the form, no explanation is given as to why.

   However, Ethan Walker, who signed the form, explained that there were a variety

   of reasons, a hood being the least likely, why SSA would leave a battery

   connected:

         A The numbers of vehicles with the batteries disconnected is
         based on whether we can actually get to the battery –

         Q Okay.

         A -- or locate the battery, sir. And that is something that we note
         to the port captain every time we see him. We had this many
         vehicles, the batteries couldn't be disconnected, and this is why.
         Q Okay. And typically, the batteries are not disconnected because
         you can't open the hood.

         A No, sir. Generally if it's a hood, we can get to those batteries
         most of the time, but not always. We have had our mechanics go


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         on board with Sawzalls and cut the hoods to be able to get into
         them, but sometimes it's just not possible to get to the batteries.

         Q Okay.
         A They're either located in the trunk, under the vehicle, under the
         passenger's seat. And these cars are parked four inches -- two to
         four inches apart and -- side to side, and 12 to 18 inches front and
         back, so...

         Q Tight quarters.

         A Yes, sir.

   Ex. 14. at 27:14-28:12 (emphasis added). Walker’s testimony was strikingly
   similar to Horizon terminal manager John White’s; clearly a vehicle hood is not a
   particularly daunting obstacle:

         Q Okay. While you were at Horizon, did you ever fail to get a
         vehicle's hood open?

         A Not to my knowledge, no sir.

         Q Okay. So, even if the driver couldn't get it opened, you would
         find a way to get it open?

         A We typically try to, yes sir.

         Q Okay. And that could involve a crowbar?

         A Whatever you could get it open.

         Q Okay. And did you have open the hood with a forklift?

         A You could.

         Q Okay. Does that damage the vehicle further?

         A It depends. You would do it based on -- depending on the
         damage of the vehicle already.


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         Q Okay.

         A Obviously a nice vehicle were not done, so.

         Q Typically a nice vehicle you wouldn't have any trouble opening
         the hood anyway?

         A Correct.

   Ex 6. at 21:24 -22:17. And if a problem were to later develop with a hood, all
   Grimaldi or SSA had to do was ask for help:

         Q Okay. And I asked you about popping the hood. Would it be
         correct to say that every vehicle that Horizon accepts would have
         an open hood, either opened or capable of being opened?

         A I would say that our job is to make sure that they open to the
         best of our ability. I will also say that, you know, these cars are
         bottom-of- the-barrel cars that come from junkyards and
         whatever. And just because you take a car off of your truck today
         and the hood is popped and then it sits there for a couple of
         months and you go to open it up in a couple of months, it might
         not open. And then, therefore, when it goes time for the ship, then
         that's when -- you know, prior to going on the ship, they say,
         "Hey, we need to get this hood open," and that's usually when we
         pop them with the forklifts or crowbars.

         Q Well, that was going to be the next question. Have you received
         any feedback or complaints from stevedores about some of the
         cars with hoods that don't open?

         A I won't say complaints because, you know, it happens, but
         normally on a typical ship that I'm working in my yard, I might
         get one or two phone calls per the ship saying, "Hey, can you
         come get this hood open?" And some of them it's a matter of, you
         know, one person on the inside open and the other person on the
         outside open it. And it's that easy or, you know, you get a crow
         bar under there and you pry it open.



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         Q Okay. So, when -- let's be specific as to Grimaldi. Do you
         remember if any stevedores called about Grimaldi vehicles to ask
         you for help in getting hoods open?

         A For Grimaldi?

         Q Yes.

         A Oh, yeah. I've got calls to open a hood for Grimaldi before.

         Q All right. And when you get a call like that, does that mean you
         have to go aboard the ship to the vehicle?

         A I have been here for 14 years and I've never once been called on
         a ship to open a hood on there. You know, they have their people
         on the ships and once it gets up there, I guess, they take care of, if
         there's any problems like that or whatever, but I've never been on
         a ship for that.

   Ex. 3. at 22:9 – 24:4. Mr. Isenberg’s testimony makes sense, because, at least in

   the case of the Runner vehicles, SSA would need to access the hoods while the

   vehicles were still on the dock to jump start vehicles so they could be driven on to

   the HOEGH XIAMEN. Ex. 17 Blake Newton Dep., Nov. 17, 2022, 24:25-25:15.

   No complaint was ever made to Horizon regarding hoods that couldn’t be opened

   on the ship. Ex. 18 Patrick Tamasitis Dep., Nov. 17, 2022, 16:17-24.

         Finally, Plaintiffs’ own expert, Thomas Bolcar, had to tacitly concede that

   an inoperable hood is a feeble excuse for not accessing a battery:

         Q So you can't point me to a single car where the hood couldn't be
         opened that was loaded onto the Hoegh Xiamen that day, can
         you?

         A Not by VIN number, no.
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         Q By any other means?
         A No.

         Q And why -- why focus so much on the hood?

         A It's a matter of when the car's received, if they can't get the
         hood opened, then that's going to increase the chances markedly
         that a battery-connected car -- or that when it gets on the ship,
         SSA won't be able to -- will have a difficult time disconnecting the
         battery.

         Q Okay. But to your first point, okay, you cannot point to a single
         car that was admitted into the terminal by Horizon where the
         hood couldn't open, can you?

         A No, I can't.
         Q Okay. Now, as far as the effect if a hood couldn't be opened, I
         want to direct you to your earlier testimony, because here's the
         thing, how long have you been doing stevedoring?

         A A long time.

         Q Okay. 40 years-plus?
         A Yes.

         Q All right. You ever met a hood you couldn't open?

         A No.

         Q Okay. That's what John White said, too. All right. You know,
         this idea of, well, a hood couldn't open, he wasn't aware of that.

         A I've never met a hood I couldn't open.

   Ex. 19 Thomas Bolcar Dep., April 26, 2023, 211:22-213:3.




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                                    Vehicle Leaking

         There is no record evidence showing that any of the vehicles in the general
   area of origin were leaking. Harshman and Way concede this. Ex. 16. at 176:19-
   22; Ex. 15 at Dep. 194:18-21. Witness testimony from the HOEGH XIAMEN crew
   supports the opposite conclusion. The Ship’s Second Officer testified:

         Q. While vessel -- while vehicles were being loaded on the vessel in
         Jacksonville, do you remember having to clean up because there
         were -- there were fluids leaking from any of the cars?

         A. During the time I was on duty, I didn't see any leaks.

         Q. Did any of your fellow crew members tell you that they saw
         any of the vehicles leaking fluids?

         A. On that day, no.

         Q. On either of the days that vehicles were being
         loaded on the vessel, do you remember seeing any vehicles that
         were taken off of the vessel for any
         reason?

         A. During the time of my duty, no.

   Ex. 20 Min Zhao Dep., Aug. 2, 2022, 17:9-22. And vehicles, if they did leak,

   would usually be leaking non-flammable fluids, like lube oil. See Ex. 2. at 33:10-

   14. In any event, Plaintiffs will not be able to present any evidence whatsoever

   that would support the inference that a vehicle that was leaking flammable liquid at

   the time Horizon received it. And, if a vehicle later sprung a leak and was later

   loaded onto the Ship severely leaking fuel, then it was up to the HOEGH XIAMEN

   crew to refuse to load the vehicle. See Ex. 21 Capt. Shi Lian Zhang Dep. 30:12-



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   23. So, here again, Plaintiffs cannot establish a causal link by stacking multiple

   unreasonable inferences.


                          Vehicles Containing Cargo or Debris

         Plaintiffs are expected to point to evidence that debris, specifically paint

   cans and ammunition, were found in two vehicles after the fire, and offer this as

   proof that the unidentified vehicle suspected to have started the blaze also

   contained things it should not have. This is plainly inadmissible character/habit

   evidence, but even if it were admissible, it still cannot support an inference that

   any of the vehicles in the general area of origin contained similar items.

         First, there is no evidence of anything being in any of the vehicles in the

   general area of origin. Here again, Harshman and Way concede this. Ex. 16 at

   185:13-19; Ex. 15 at 198:14-20; 199:4-16. Second, the photographs, assuming that

   they are authentic and actually depict vehicles that were onboard the HOEGH

   XIAMEN, show that they are unburned with equally unburned items inside. See

   Photos attached hereto as Ex. 22. These vehicles, therefore, were clearly not

   involved in the fire in any way, and certainly did not cause or contribute to it.

         Given that these photos have no connection whatsoever to the fire, they

   would be offered only to show that Horizon somehow acted in “character” and

   must have received vehicles with prohibited items that somehow contributed to the

   fire. Not only is this a stretch, but it also violates Fed. R. Evid. 404 (a)(1), which
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   provides “[e]vidence of a person’s character or character trait is not admissible to

   prove that on a particular occasion the person acted in accordance with the

   character or trait.” In other words, even taken as true, just because two vehicles

   (out of 1,575 loaded in Jacksonville) contained items that should have been

   removed, it does not follow that the vehicles on Deck 8 in the general area of

   origin somehow must have also contained these items.

         “On motions for summary judgment, [a court] may consider only that

   evidence which can be reduced to an admissible form.” Rowell v. BellSouth Corp.,

   433 F.3d 794, 800 (11th Cir. 2005); see Celotex Corp., 477 U.S. at 324 (explaining

   that the nonmovant need not produce evidence at the summary judgment stage “in

   a form that would be admissible at trial in order to avoid summary judgment”).

   Since Plaintiffs cannot produce plainly prohibited evidence in any form, they

   cannot rely upon it here to survive summary judgment.

         The result is the same if Plaintiffs attempt to try to introduce the photos as

   “habit” evidence. Rule 406 provides in pertinent part that "[e]vidence of the . . .

   routine practice of an organization . . . is relevant to prove that the conduct of the . .

   . organization on a particular occasion was in conformity with the . . . routine

   practice." Fed. R. Evid. 406. While the Eleventh Circuit has not articulated a

   “precise formula for determining when a practice of an organization is so

   consistent that it becomes routine or habitual,” it has held that “‘adequacy of


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   sampling and uniformity of response” are controlling considerations [in making

   such a determination].” Goldsmith v. Bagby Elevator Co., 513 F.3d 1261, 1285

   (11th Cir. 2008) (quoting Reyes v. Mo. Pac. R.R., 589 F.2d 791, 795 (5th Cir.

   1979), and Fed. R. Evid. 406 advisory committee's note). In other words, “conduct

   admitted as evidence of habit must reflect a systematic response to specific

   situations to avoid the danger of unfair prejudice that ordinarily accompanies the

   admission of propensity evidence[.]” Id. (emphasis added). Thus, the examples

   proffered to establish habit or pattern must be “numerous enough to base an

   inference of systematic conduct” and to establish “one's regular response to a

   repeated specific situation” before they are admissible to establish a pattern or

   habit. Id. (quoting G.M. Brod & Co. v. U.S. Home Corp., 759 F.2d 1526, 1533

   (11th Cir. 1985). Based on that standard, the Goldsmith court held that the

   plaintiff’s proffered evidence of “only four” other instances of behavior

   conforming to the alleged conduct in the plaintiff's case was insufficient to

   establish habit or pattern. Id.

         The photographs show two vehicles. Two. Assuming that these vehicles

   were loaded in Jacksonville, and not part of the shipment that had been loaded on

   the HOEGH XIAMEN in another port, they represent only .0127% of the 1,575

   staged by Horizon. Thus, even if taken in the light most favorable to the Plaintiffs,




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   this evidence would not even come close to supporting an inference of systematic

   conduct.

         Wherefore,     Defendant    HORIZON       TERMINAL        SERVICES,    LLC

   respectfully requests this honorable Court grant its Motion for Summary Judgment

   and such other and further relief as deemed just and proper.


                                         Respectfully submitted,

                                          /s/ Jules V. Massee
                                         JULES V. MASSEE
                                         Florida Bar Number: 026997
                                         jmassee@hamiltonmillerlaw.com
                                         BRANDON BUSHWAY, FBN: 1015247
                                         bbushway@hamiltonmillerlaw.com
                                         100 S. Ashley Drive, Suite 1210
                                         Tampa, Florida 33602
                                         SERVICE E-MAIL:
                                         JVMserve@hamiltonmillerlaw.com
                                         Tel: 813-223-1900 / Fax: 813-223-1933
                                         Counsel for Defendant Horizon Terminal
                                         Services, LLC

                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 2, 2023, the foregoing document is

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   Notices of Electronic Filing.

                                         /s/Jules V. Massee
                                         Attorney


                                    SERVICE LIST
                                     3:20-cv-01150

   BENJAMIN E. RICHARD                       DENNIS B. KEENE
   Florida Bar No. 13896                     Florida Bar No. 982598
   Ben@pajcic.com                            dkeene@bouhan.com
   CURRY GARY PAJCIC                         TODD M. BAIAD – pro hac vice
   Florida Bar No.21301                      Georgia State Bar No. 031605
   Curry@pajcic.com                          tmbaiad@bouhan.com
   THOMAS F. SLATER                          LUCAS D. BRADLEY – pro hac vice
   Florida Bar No.614114                     Georgia State Bar No. 672136
   tom@pajcic.com                            ldbradley@bouhan.com
   PAJCIC & PAJCIC, PA                       Post Office Box 2139
   One Independent Drive, Suite 1990         Savannah, Georgia 31402-2139
   Jacksonville, FL 32202                    T: (912) 232-7000
   Rose@pajcic.com                           F: (912) 233-0811
   T: 904-358-8881                           Attorneys for Defendant SSA Atlantic,
   Hoegh@pajcic.com                          LLC
   Attorneys for Plaintiffs
                                             TIMOTHY J. CONNER
   ERIC C. THIEL                             Florida Bar No. 767580
   Florida Bar No.: 016267                   timothy.conner@hklaw.com
   ethiel@bankerlopez.com                    HOLLAND & KNIGHT, LLP
   DAVID F. POPE                             50 N Laura St, Suite 3900
   Florida Bar No. 164452                    Jacksonville, FL 32202
   dpope@bankerlopez.com                     T: 904-353-2000
   BANKER LOPEZ GASSLER, P.A.                F: 904/ 358-1872
   501 East Kennedy Blvd, Suite 1700         Attorneys for Defendant Hoegh
   Tampa, Florida 33602                      Autoliners, Inc.
   T: (813) 221-1500
   F: (813) 222-3066                         JAMES F. MOSELY, JR.

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   service-ethiel@bankerlopez.com         Florida Bar No. 699926
   Counsel for Defendant Grimaldi Deep    jmoseleyjr@mppkj.com
   Sea S.P.A.                             SHEA M. MOSER
                                          Florida Bar No. 0029265
                                          smoser@mppkj.com
                                          MOSELEY PRICHARD PARRISH
                                          KNIGHT & JONES
                                          501 W. Bay Street
                                          Jacksonville, FL 32202
                                          Tel: (904) 356-1306
                                          Fax: (904) 354-0194
                                          Counsel for Defendants Hoegh Shipping
                                          & Hoegh Management




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